                             Settlement Agreement

       Plaintiffs Ricardo Mondragon, Eustorgio Espinobarros Feliciano, Juan
Contreras, Cutberto Ortiz Hernandez, Alejandro Jimenez Gonzalez, Renato Romero
Acuna, Jose Tapia, Anastacio Lopez Solis, and Abdon Qujrasco Sixteco (collectively
“Plaintiffs”) and Scott Farms, Inc, Linwood H. Scott, Jr., Alice H. Scott, Linwood H.
Scott, III, and Dewey R. Scott (collectively “'Defendants”) hereby make the following
preliminary agreement as the result of a mediated settlement conference held on, 31
July 2019 and subsequent settlement negotiations:

   1. Defendants will pay the total amount of $775,000.00 to resolVe all claims
      asserted by Plaintiffs in the lawsuit designated as 5:17-CV-356-FL (Eastern
      District of North Carolina).
      0f the total settlement amount, $175,000.00 will be designated as attorneys’
      fees and costs, subject to approval of'the Court.
      The remainder of the settlement. amount, $600,000.00, will be designated as
      damages to the Plaintiffs and the classes they purport. to represent and will
      be divided among the various, claims asserted by Plaintiffs. as determined by
      Plaintiffs’ counsel, subject to approval, of the Court. Plaintiffs will request
      Court approval for payment of some amount as incentive payments to the
      Plaintiffs named in the Complaint, which will be paid from the damages.
      allocated to the Plaintiffs. Defendants will not oppose this request.
      Defendants will be responsible for the cost of administration           of this.
      settlement.
      This settlement covers the period from 15 September 2014 through 14 August
      2019 and will resolve all claims under the North Carolina Wage and Hour
      Act, Fair Labor Standards Act, and/or Migrant and Seasonal Agricultural
      Worker Protection Act that Plaintiffs and any class. or collective action
      members they seek to represent may have against the Defendants through 14
      August 2019.
      One-half of the damages under the NCWI-IA and the FLSA will be
      characterized as back wages and subject to withholding. No withholdings
      will be made from the one-half of the NCWHA and ELSA damages
      characterized as liquidated damages nor from the damages attributed to the
      AWPA claims. Defendants will provide proper tax forms (1099 and/or W-
      2). Any 1099 issued will show "other income” on line 3. Defendants will
      withhold and pay the employer’s share of all taxes and make all required
      withholding's. For those class and collective actiOn members from, whom
      income tax has been withheld by any of the Defendants in the current or
      immediately preceding calendar year, withholding on back wages shall be
      made using the aggregate method. 26 CFR 31.3402.'(g)-1(a)(6). For the.
      remaining class and collective action members, withholding on back wages.
      shall be based on a SSS-day miscellaneous pay period.




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    7. The parties anticipate that checks should be issued through the Scott Farms
       payroll to putative class and collective action members who. are current
       employees and may be mailed to former employees at their last known
       address without a formal claims process. However, to the extent a class
       member needs to make a claim against the settlement fund, any putative
       member of the class or collective action may present. any kind of photo ID
       which On its face appears to be issued by some government entity Or is a Scott
       Farms ID, where the name on the photo ID matches the name on the payroll
       of Scott Farms, Inc., with the understanding that common misspellings of
       Hispanic names will not be grounds for rejecting the ID.
    8. Defendants will make the payments set out in this agreement within thirty
        (30) calendar days of ﬁnal approval of this settlement by the Court.
    9. As was done in Aguilar-Qantas, any damages that are unclaimed after the
       date falling'one year after the ﬁnal approval. of this Settlement by the Court
       will be divided in equal shares among the cy. pres organizations North
        Carolina Interest on Lawyers Trust Accounts and Campaign for Migrant
        Worker Justice.
   ‘10.Except as set out above, the parties will be responsible for their own
       attorneys’ fees and costs related to this action. Within 30 days of the
        execution of this Settlement Agreement, the parties shall ﬁle a joint motion
        for preliminary approval of this Settlement Agreement and to send notice to
        the putative class members of the settlement. Defendants shall prepare the
        ﬁrst draft of the proposed joint motions, notices, and orders and the parties
        shall work together to ﬁle a ﬁnal version of each within the 30-day deadline.
    11.For' a three (3) year period starting from 18 August 2019, during any time
        period(s) covered by any certiﬁed H-ZA clearance order for H-2A workers at
        Scott Farms, Inc., Scott Farms, Inc. shall pay the Adverse Effect Wage Rate
        to all Scott Farms, Inc. employees who perform work included within the
        following job classiﬁcations:

            ONET SOC code 45209100 ~ FarmWOrkers             and Laborers,
            Crop, Nursery, and GreenhOuse

           Manually plant, cultivate, and. harvest vegetables, fruits, nuts,
           horticultural Specialties, and ﬁeld crops. Use hand tools, such as
           shovels, trowels, hoes, tempers, pruning hooks, shears, and
           knives. Duties may include tilling soil and applying fertilizers;
           transplanting, weeding, thinning, or pruning crops; applying
           pesticides; or cleaning, grading, sorting, packing, and loading
           harvested products. May construct trellises, repair fences and
           farm buildings, or participate in irrigation activities.

            ONET SOC Code 45-2091.oo — Agricultural Equipment
            Operators



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              Drive and control farm equipment to till soil. and to plant,
              cultivate, and harvest c‘rOps. May perform tasks, such as crop
              haling or hay bucking. May operate stationary equipment to
              perform post-harvest tasks, such as husking, shelling, threshing,
              and ginning.

          or any other ONET SOC code used on such certiﬁed H-2A clearance order(s) for
          H2A workers Who will perform work at Scott Farms, for any labor certification
          for temporary agricultural employment in the United States issued by the US.
          Department of Labor and/or any other agency of the government of the United
          States that may later assume responsibility for such certiﬁcation. The
          obligation of Scott Farms, Inc. to pay the Adverse Effect Wage Rate for a
          particular agricultural season shall end if the petitioners for H~2A workers at
          Scott Farms declare contract impossibility pursuant to 20 C.FR. § 655.122(o).
          If any of the parties believe there has been a violation of this paragraph,
          counsel fer the parties shall notify each other in writing at least 30 days in
          advance of the date on which any petition to enforce any provision of the
          settlement agreement is ﬁled, and shall thereafter confer in good faith to
          resolve any perceived violation(s) of its terms before seeking judicial
        intervention.
     12.If‘ required by law, notice to the appropriate federal and state ofﬁcials in
          accordance with the Class Action Fairness Act shall be made by Defendants»
          within ten (10) days after the ﬁling of the joint motion for preliminary
          approval of this SettlementAg‘reement.

       The parties will execute such further and more detailed releases or
settlement agreements as may be required but this decument shall constitute a
binding settlement agreement as all matters set forth in it.

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   M i m
CounSel for Plaintiffs.                        counsel for Defendants


Margret
Counsel for Plaintiffs




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